Case: 3:16-cr-00073-TMR Doc #: 257 Filed: 02/24/21 Page: 1 of 1 PAGEID #: 1717

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

Plaintiff,
-VS- Case No. 3:16-CR-73-03
CHARLES DARNELL SPENCER,

Defendant.

 

ENTRY AND ORDER

 

This matter is before the Court on Defendant’s pro se motion entitled “Motion for Judicial
Recommendation on Residential Re-Entry Center Placement 3624" (doc. 256) filed February 10,
2021. The Defendant has requested the Court issue a recommendation that he be eligible for
additional halfway house placement, twelve (12) months, pending his anticipated release date of
October 14, 2022.

IT IS THE RECOMMENDATION OF THE COURT that if the Defendant is determined by
the United States Bureau of Prison’s Unit Team to be eligible, pursuant to 18 U.S.C. §3621(b) he
be considered for designation.

DONE and ORDERED in Dayton, Ohio, this 24" day of Eebruary, 2021.

 

 

JNITED STATES DISTRICT COURT
